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                          UNITED STATES DISTRICT COURT
   5
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
   6
       FRANCESCA GREGORINI,                          Case No. 2:20-cv-00406-SSS-JC
   7
             Plaintiff,
   8                                                 ORDER DENYING DEFENDANTS’
   9                                                 MOTION FOR SUMMARY
             v.                                      JUDGMENT [DKT. 180, 239]
  10   APPLE INC. et al.,
  11
                    Defendants.
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             Before the Court is a Motion for Summary Judgment filed by Apple Inc.,
  14
       M. Night Shyamalan, Blinding Edge Pictures, Inc., Uncle George Productions,
  15
       Escape Artists LLC, Dolphin Black Productions, Tony Basgallop, Ashwin
  16
       Rajan, Jason Blumenthal, Todd Black, and Steve Tisch.1 [Dkt. 239,
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       Defendants’ Motion for Summary Judgment (“Motion”)].2 Defendants move
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       for summary judgment on all asserted claims in the first amended complaint.
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       [See Dkt. 25, First Amended Complaint (“FAC”)]. Plaintiff Francesca
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       Gregorini (“Gregorini”) opposes. [Dkt. 276]. Having considered the parties’
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       arguments, the relevant legal authority, and the record in this case, the Court
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       DENIES the Motion.
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         Defendants will collectively be referred as “Defendants” unless otherwise
  26   specified.
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         Defendants first filed their Motion on July 12, 2024. [Dkt. 180]. Following
  27   the Court’s order on their application to seal portions of their Motion,
  28   Defendants refiled their Motion on August 19, 2024. [Dkt. 239]. This order
       addresses the latter filed Motion but applies to the former Motion as well.
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   1   I.    BACKGROUND
   2         This case arises from a dispute regarding the originality of the first three
   3   episodes of a popular television series, Servant.
   4         A.     Servant
   5         Servant is a supernatural thriller that follows a wealthy couple who hires a
   6   mysterious nanny to care for a baby doll the mother believes is her deceased
   7   child. [Motion at 12].3 The nanny dotes on the doll, seamlessly playing into the
   8   mother’s delusion, much to the confusion of the husband. [Dkt. 180 at Ex. 29,
   9   Servant Episode 1 (“Servant Ep. 1”)]. At the end of the first episode, however,
  10   a live baby appears in the dolls wake. [Id.]. The startled husband blames the
  11   nanny and begins investigating the nanny’s shadowy past. [Motion at 12].
  12         Servant debuted on Apple TV+ in 2019 to launch Apple’s new streaming
  13   platform. [Id.; Dkt. 276, Gregorini’s Opposition (“Opp.”), at 10]. Tony
  14   Basgallop (“Basgallop”) wrote Servant and M. Night Shyamalan (“Shyamalan”)
  15   directed the first episode. [Motion at 13]. Shyamalan’s production company,
  16   Blinding Edge Pictures, Inc. (“Blinding Edge”) helped produce the series,
  17   attaching Apple Inc. (“Apple”) in 2018. [Id. at 14].
  18         B.     The Truth About Emanuel
  19         Three years prior to Servant’s release, an independent movie titled The
  20   Truth About Emanuel (“Emanuel”) premiered at Sundance Film Festival. [Opp.
  21   at 8]. In Emanuel, a mother hires a young nanny to care for a baby doll the
  22   mother believes is her deceased child. [Dkt. 180 at Ex. 79, Emanuel]. The
  23   nanny’s complicity in the mother’s delusion, motivated by the nanny’s loss of
  24   her own mother, facilitates a tender relationship between the two as they both
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  28    The Court notes all page citations will be to pages numbers designated by ECF
       upon the documents' filing.
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   1   move through their respective grief. [Id.]. Gregorini developed Emanuel, and
   2   the film has won numerous awards and recognition. [Opp. at 9].
   3         C.       This Lawsuit
   4         Gregorini alleges Defendants impermissibly copied from Emanuel in the
   5   making of Servant, charging Defendants with a single claim of copyright
   6   infringement under federal copyright law.4 [FAC ¶¶ 83-92]. Gregorini pursues
   7   this claim against all Defendants under a theory of direct infringement as well as
   8   contributory and vicarious infringement. [Id. ¶¶ 105-107].
   9         In 2020, Judge Walter granted Defendants’ motion to dismiss on the basis
  10   the two works were not substantially similar. [Dkt. 39]. The Ninth Circuit
  11   reversed, holding dismissal was “improper” because “reasonable minds could
  12   differ on the issue of substantial similarity.” Gregorini v. Apple Inc., No. 20-
  13   55664, 2022 WL 522307, at *1 (9th Cir. Feb. 22, 2022) (internal quotations
  14   omitted).   Now, Defendants move for summary judgment and assert: (1)
  15   Gregorini’s copyright is invalid; (2) Defendants did not have access to her work;
  16   (3) the works are not substantially similar; and (4) Basgallop independently
  17   created Servant, among other arguments. The Court discusses additional relevant
  18   facts below.
  19   II.   LEGAL STANDARD
  20         Summary judgment is appropriate when there is no genuine issue as to
  21   any material fact and the moving party is entitled to judgment as a matter of
  22   law. Fed. R. Civ. P. 56(a). The moving party has the initial burden of
  23   identifying the portions of the pleadings and record that it believes demonstrate
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  26     Gregorini originally alleged three claims of copyright infringement, one for the
       television show, and two for earlier scripts of the television show. [FAC ¶¶ 83-
  27   104]. However, Gregorini has since dropped the claims regarding the scripts, so
  28   that she is only prosecuting infringement as it pertains to the television series.
       [Dkt. 317 (Minutes from November 1, 2024 hearing)].
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   1   the absence of an issue of material fact. See Celotex Corp. v. Catrett, 477 U.S.
   2   317, 323 (1986). The moving party must show that “under the governing law,
   3   there can be but one reasonable conclusion as to the verdict.” Anderson v.
   4   Liberty Lobby, Inc., 477 U.S. 242, 250 (1986).
   5          If the moving party has sustained its burden, the non-moving party must
   6   then show that there is a genuine issue of material fact that must be resolved at
   7   trial. See Celotex, 477 U.S. at 324. The non-moving party must make an
   8   affirmative showing on all matters placed at issue by the motion as to which it
   9   has the burden of proof at trial. See id. at 322; Anderson, 477 U.S. at 252. A
  10   genuine issue of material fact exists “if the evidence is such that a reasonable
  11   jury could return a verdict for the non-moving party.” Id. at 248. “This burden
  12   is not a light one. The non-moving party must show more than the mere
  13   existence of a scintilla of evidence.” Oracle, 627 F.3d at 387 (citing Anderson,
  14   477 U.S. at 252).
  15          When deciding a motion for summary judgment, the Court construes the
  16   evidence in the light most favorable to the non-moving party. See Barlow v.
  17   Ground, 943 F.2d 1132, 1136 (9th Cir. 1991). Thus, summary judgment for the
  18   moving party is proper when a “rational trier of fact” would not be able to find
  19   for the non-moving party based upon the record taken as a whole. Matsushita
  20   Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).
  21   III.   DISCUSSION
  22          To prove copyright infringement, Gregorini must establish (1)
  23   “ownership,” (2) “copying,” and (3) “unlawful appropriation.” Skidmore v. Led
  24   Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020). Defendants challenge
  25   Gregorini’s ability to prove all three elements at trial. [Motion at 17-26].
  26   Additionally, Defendants allege the affirmative defense of independent creation,
  27   and seek to limit their liability as to Gregorini’s claims regarding secondary
  28   liability and indirect profits. [Motion at 28-31].

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   1         A.     Ownership
   2         First, Defendants contend Gregorini’s copyright registration of Emanuel
   3   is invalid because it is inaccurate. [Motion at 18]. A party seeking to invalidate
   4   a copyright registration must show that the registrant submitted an inaccurate
   5   application with knowledge of the inaccuracies, and the inaccuracies were
   6   material to the registration. Unicolors v. H&M Hennes & Mauritz, 52 F.4th
   7   1054, 1067 (9th Cir. 2022). Federal copyright law requires disclosure of
   8   “preexisting works” in copyright applications “in the case of a compilation or
   9   derivative work.” 17 U.S.C. § 409(9).
  10         Defendants claim Gregorini’s application is inaccurate because it did not
  11   disclose that Sarah Thorp (“Thorp”), a friend of Gregorini’s, provided the initial
  12   idea for Emanuel. [Motion at 18]. According to Thorp, she floated to Gregorini
  13   the “very basic one-liner” of an “indie thriller about a woman who creates a
  14   delusion in which she believes her child is still alive.” [Dkt. 194-3, Deposition
  15   of Sarah Thorp (“Thorp Depo.”), at 21, 26]. Gregorini, “very inspired” by the
  16   conversation, developed the preliminary screenplay of Emanuel around “this
  17   basic seed of a story,” adding plot, characters, scenes, and dialogue. [Id. at 25,
  18   28; Dkt. 180-70, Emails Between Gregorini and Thorp, at 5]. Gregorini also
  19   added the central feature of the reborn doll, which Thorp attests “was all
  20   Francesca.” [Thorp Depo. at 25]. Ultimately, the two signed an agreement
  21   providing that Gregorini owned the screenplay entirely, while Thorp owned the
  22   initial story. [Dkt. 180-73, Screenplay Purchase Agreement]. It is undisputed
  23   Thorp has any copyright interest in Emanuel. [Dkt. 285, Response to
  24   Statements of Genuine Disputes of Material Fact (“SGD”) ¶ 362].
  25         Considering this context, the Court cannot find Gregorini’s application
  26   inaccurate as a matter of law. Defendants state Gregorini’s application must
  27   have disclosed “any preexisting work or works that it is based on” to be
  28   accurate. [Motion at 18]. However, that is only true if Emanuel is a “derivative

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   1   work” or “compilation.” 17 U.S.C. § 409(9). Defendants do not allege or point
   2   to facts establishing that Emanuel is either. [See id.]. As such, Defendants have
   3   not met their burden in showing Gregorini registered her copyright with an
   4   inaccuracy.
   5         The Court is dubious Gregorini was required to disclose Thorp’s minimal
   6   involvement in Emanuel. The Copyright Act defines “derivative work” as a
   7   work that “recast[s], transform[s], or adapt[s]” a “preexisting work,” such as a
   8   “translation, musical arrangement, dramatization,” etc., and “compilation” as a
   9   “work formed by the collection and assembling of preexisting materials or of
  10   data.” 17 U.S.C. § 101. “If what is borrowed consists merely of ideas and not
  11   the expression of ideas, then, although the work may have in part been derived
  12   from prior works, it is not a derivative work.” Starbuzz Tobacco, Inc. v. Gold
  13   Star Tobacco Inc, No. SACV 19-00408 JVS (DFMx), 2019 WL 12446075, at
  14   *4 (C.D. Cal. July 3, 2019); see also Herbert Rosenthal Jewelry Corp. v.
  15   Kalpakian, 446 F.2d 738, 741 (9th Cir. 1971) (explaining copyright law’s
  16   protection of “the particular ‘expression’ of an idea” but not “the ‘idea’ itself”).
  17   Here, Thorp only provided a “very basic one liner,” or a mere idea, to Gregorini,
  18   who then expressed and augmented that idea to form a screenplay. [Thorp
  19   Depo. at 26]. Similarly, the Court is also hard pressed to find Emanuel a
  20   compilation. Cf. Starbuzz, 2019 WL 12446075, at *6 (noting the Copyright
  21   Office’s Form offers “[c]ompilation of 19th century political cartoons” as an
  22   example of a compilation).
  23         In considering the evidence in a light most favorable to Gregorini, Thorp
  24   is a far from co-authoring Emanuel as Defendants claim; rather, she lent an idea
  25   to Gregorini. Without any explanation as to why this Court should consider
  26   Gregorini’s work derivative or a compilation, and thus providing no basis for
  27   the underlying inaccuracy in her copyright application, the Court declines to
  28   find Gregorini’s copyright invalid.

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   1         B.     Copying
   2         Next, Defendants assert they did not have access to Emanuel, and
   3   therefore Gregorini cannot prove Defendants copied her work. [Motion at 18].
   4   A plaintiff may prove copying with either (1) a circumstantial showing
   5   defendants had access to plaintiff’s work and the two works share similarities5
   6   or (2) direct evidence. 6 Skidmore, 952 F.3d at 1064. Ultimately, Gregorini
   7   must show that Defendants “had an opportunity to view or copy” her work.
   8   Three Boys Music Corp. v. Bolton, 212 F.3d 477, 482 (9th Cir. 2000).
   9                1.     Circumstantial Access
  10         Access can be demonstrated by a “chain of events linking the plaintiff’s
  11   work and the defendant’s access” or by “showing that the plaintiff’s work has
  12   been widely disseminated.” Loomis v. Cornish, 836 F.3d 991, 995 (9th Cir.
  13   2016). The court’s inquiry is if plaintiff shows a “reasonable possibility, not
  14   merely a bare possibility” that defendants had “the chance to view the protected
  15   work.” Art Attacks Ink, LLC v. MGA Ent. Inc., 581 F.3d 1138, 1143 (9th Cir.
  16   2009).
  17                     a. Widespread Dissemination
  18         Gregorini contends Emanuel enjoyed enough industry-specific notoriety
  19   to at least create a genuine issue regarding Defendants’ access. [Opp. at 14-17].
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       5
  22     While the Court notes the similarity prong of copying and unlawful
       appropriation analysis are different, the Court’s discussion of the similarities
  23   between Servant and Emanuel in Section C satisfy both inquiries by applying
       the higher bar required of unlawful appropriation, or the overlap of only
  24   protectable elements. See Skidmore, 952 F.3d at 1064 (clarifying that copying
  25   analysis is based on unprotectable and protectable elements, whereas unlawful
       appropriation at summary judgment assesses similarity based on protected
  26   elements).
       6
         Gregorini also argues Emanuel and Servant are “strikingly similar” such that
  27   access can be inferred. [Opp. at 19]. See Malibu Textiles, Inc. v. Label Lane
  28   Int'l, Inc., 922 F.3d 946, 952 (9th Cir. 2019). However, the Court does not find
       the works to be strikingly similar, as elaborated on in Section C.
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   1   Defendants argue Emanuel was not widely disseminated because it only
   2   generated ticket sales of about $4,000. [Dkt. 239-1, Defendants Statement of
   3   Uncontroverted Facts “SUF”, ¶ 240].
   4         “The evidence required to show widespread dissemination will vary from
   5   case to case.” Loomis, 836 F.3d at 997. In “most cases,” commercial success
   6   will be determinative. Id; see e.g., Rice v. Fox Broad. Co., 330 F.3d 1170, 1178
   7   (9th Cir. 2003) (holding sale of 17,000 copies of protected video over thirteen
   8   years inadequate to establish widespread dissemination); Art Attacks Ink, LLC v.
   9   MGA Ent. Inc., 581 F.3d 1138, 1144-45 (9th Cir. 2009) (holding sale of 2,000 t-
  10   shirts with protected design inadequate). However, commercial success is not
  11   required. See Gray v. Perry, No. 2:15-cv-05642-CAS (JCx), 2018 WL
  12   5095118, at *3 (C.D. Cal. Oct. 17, 2018) (describing how necessitating
  13   commercial success “would make it permissible to infringe on a copyrighted
  14   work simply because it was never for sale”). So, although $4,000 in ticket sales
  15   alone would likely be insufficient to establish access as a matter of law,
  16   Gregorini offers a plethora of alternative evidence.
  17         To start, Emanuel premiered at Sundance Film Festival, one of the most
  18   renowned film festivals in the world. [SUF ¶ 232; Dkt. 182-26, Expert Report
  19   of Ellen Pittleman “Pittleman Report” ¶ 20]. The film stars “[w]ell-known”
  20   actors, like Jessica Biel. [Id. ¶ 22]. Emanuel debuted in the “Dramatic
  21   Competition category” with only 15 other films and was nominated for a prize
  22   in that category. [SGD ¶ 293]. Sundance staff dubbed Emanuel “arguably the
  23   most artistically liberated film at the 2013 Sundance Film Festival.” [SGD ¶
  24   295]. THE LOS ANGELES TIMES, ROLLING STONE, DEADLINE, VARIETY, and THE
  25   HOLLYWOOD REPORTER all reported on Emanuel’s release. [SGD ¶ 294]. The
  26   film was shown at 18 other film festivals internationally and won four other
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   1   awards.7 [SGD ¶¶ 296, 297]. This is much more than “mere availability of
   2   work online,” as Defendants argue. [See Motion at 19, citing Cope v. Warner
   3   Recs., Inc., No. 2:22-CV-01384-SSS-AS(x), 2023 WL 11827959 (C.D. Cal.
   4   June 5, 2023)]. Here, the facts indicate there is at least a genuine dispute of
   5   Emanuel’s substantial notoriety in the independent film scene.
   6         Further, it is undisputed Defendant Shyamalan asks Blinding Edge
   7   employees to scout talent at film festivals and Defendant Apple regularly sends
   8   representatives to Sundance to look for films to purchase. [SGD ¶¶ 367, 370].
   9   It is additionally undisputed Defendant Basgallop routinely watches and enjoys
  10   independent films and reads the entertainment industry publications in which
  11   Emanuel was featured. [Id. ¶¶ 322, 324, 369-71]. Defendant Rajan testified to
  12   watching a “movie a week” and Defendant Blinding Edge employs a team to
  13   watch movies. [Id. ¶ 370]. Gregorini’s expert also supplies that in the film
  14   industry, film festivals provide a “crucial platform” for identifying new talent
  15   and Sundance in particular “stands out as a festival.” [Pittleman Report ¶ 20].
  16         In Straughter v. Raymond, the court held an album with “some level of
  17   notoriety in the R & B genre at the same time defendants were actively creating
  18   R & B music, and defendants’ admission that they have heard thousands of
  19   songs from countless artists” supported an inference of access based on
  20   widespread dissemination. No. CV 08-2170 CAS (CWx), 2011 WL 3651350,
  21   at *13 (C.D. Cal. Aug. 19, 2011); see also L.A. Printex Indus., Inc. v.
  22   Aeropostale, Inc., 676 F.3d 841, 848 (9th Cir. 2012) (finding a triable issue of
  23   access where plaintiff’s product was popular in a specific market and defendant
  24   routinely participated in that market); cf. Loomis, 836 F.3d at 998 (holding
  25   Defendants who did not “participat[e] in the relevant market” and whose
  26
  27   7
        Emanuel was also showed in 12 movie theaters throughout the U.S., and was
  28   publicly available on streaming services, like Netflix, Hulu, Amazon Video,
       Peacock, and iTunes. [SGD ¶¶ 236, 239, 241, 243].
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   1   “responsibilities had nothing to do with listening to local radio, reading local
   2   press, or scouting local bands” did not access songs at issue). Here, Emanuel’s
   3   notoriety in the independent film scene during the same time Defendants
   4   consumed independent films, and when Servant itself was in development,
   5   demonstrate a reasonable possibility Defendants had the chance to view
   6   Emanuel.
   7                2.      Direct Access
   8         Gregorini additionally asserts points of direct access. Most prominently,
   9   Marc Aronson (“Aronson”), an Apple executive who worked as the “creative
  10   executive responsible for Servant,” received an email on March 7, 2018, that
  11   pitched Gregorini as a “Director to Know” and provided a link to view
  12   Emanuel. [SGD ¶ 330; Dkt. 276-24 at 3; Dkt. 276-11, Deposition of Marc
  13   Aronson (“Aronson Depo.”), at 27-28]. Thus, Gregorini has established at least
  14   one Defendant had direct access to Emanuel while Servant was in creative
  15   development. See Irish Rover v. Sims, No. 20-06293, 2023 WL 4317054, at *6
  16   (C.D. Cal. June 30, 2023) (holding one defendant’s direct access sufficient to
  17   overcome summary judgment for all defendants involved with developing
  18   Stranger Things television show).
  19         However, Defendants argue the alleged similarities between Emanuel and
  20   Servant were in Servant scripts prior to Apple’s involvement. [Motion at 21].
  21   See Bernal v. Paradigm Talent & Literary Agency, 788 F. Supp. 2d 1043, 1054
  22   (C.D. Cal. 2010) (to support a claim of copying, “Defendants must have had
  23   access to Plaintiff’s copyrighted work before the creation of the allegedly
  24   infringing work”) (emphasis in original).
  25         To support their argument, Defendants only point to Gregorini’s own
  26   complaint alleging infringement based on Early and Later Servant scripts and
  27   the limited creative role Apple had in Servant. [Id.]. However, the Court
  28   cannot penalize Gregorini for pursuing alternative legal theories in her

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   1   complaint. See Aetna Life Ins. Co. v. Provident Life & Acc. Ins. Co., 962 F.2d
   2   13 (9th Cir. 1992) (“[A] policy which permits one claim to be invoked as an
   3   admission against an alternative or inconsistent claim would significantly
   4   restrict, if not eliminate, the freedom to plead inconsistent claims provided by
   5   Rule 8(e)(2).”). Gregorini also offers evidence of Apple, and particularly
   6   Aronson, providing “multiple rounds” of creative input in the making of
   7   Servant. [SGD ¶ 176]. Without more, Defendants have not met their burden in
   8   foreclosing Gregorini’s direct access theory. See Celotex, 477 U.S. at 323
   9   (citing to Fed. R. Civ. P. 560 (holding the moving party “bears the initial
  10   responsibility” of “identifying” the portions of the record that “demonstrate an
  11   absence of a genuine issue of material fact”).
  12         Gregorini also supplies other possibilities for direct access. Aronson may
  13   have reasonably had direct access a year prior when he selected Gregorini to
  14   direct an episode of another television show, Electric Dreams, while working at
  15   Sony. [SGD ¶ 328]. Aronson testified he would watch potential directors’
  16   material in the selection process, even though he did not testify to specifically
  17   watching Emanuel. [Aronson Depo. at 5, 49].
  18         Gregorini alleges Basgallop had direct access to Emanuel when she was
  19   considered as a director for the show Basgallop wrote and produced, called
  20   Berlin Station. [SGD ¶ 372]. Gregorini’s agent sent Gregorini an email
  21   confirming she “submitted” her for Berlin Station and testified to her office’s
  22   practice of sending the “materials” of her clients for submission. [Dkt. 180-91,
  23   Deposition of Olivia Blaustein, at 6-8]. However, Gregorini’s agent was not
  24   copied on the email submitting Gregorini, albeit typical in her office’s practice,
  25   and Gregorini has not produced the exact submission. [Id. at 8]. Defendants
  26   also contend Basgallop did not have a role in selecting directors, a fact
  27   Gregorini disputes. [SGD ¶ 254].
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   1         While Gregorini’s evidence of direct access is admittedly not the smoking
   2   gun she may desire, taken together, it does make it difficult for the Court to
   3   conclude that neither Apple nor Basgallop had an “opportunity to view” her
   4   work. See Three Boys Music Corp., 212 F.3d at 482.
   5         While “distinguishing a ‘bare’ possibility from a ‘reasonable’ possibility”
   6   that Defendants viewed Emanuel “present[s] a close question, “[o]ne must
   7   remember that the issue this Court must address is not whether Plaintiff has
   8   proven access by a preponderance of evidence, but whether reasonable minds
   9   could find Defendants had a reasonable opportunity” to have viewed
  10   Gregorini’s work before creating Servant. Kaseberg v. Conaco, LLC, 260 F.
  11   Supp. 3d 1229, 1241 (S.D. Cal. 2017); Three Boys Music Corp., 212 F.3d at 485
  12   (emphasis in original). Taking the record as a whole, the Court finds a
  13   reasonable mind could conclude Defendants had access to Emanuel.
  14         C.     Unlawful Appropriation
  15         To determine unlawful appropriation, the Court must decide whether
  16   Servant and Emanuel share “substantial similarities.” Skidmore, 952 F.3d at
  17   1064. The Court first notes that the Ninth Circuit has held – in this very case –
  18   that “summary judgment is not highly favored on questions of substantial
  19   similarity in copyright cases.” Gregorini v. Apple Inc., No. 20-55664, 2022 WL
  20   522307 (9th Cir. Feb. 22, 2022) (reversing district court’s grant of Defendants’
  21   motion to dismiss on substantial similarity). That is because the “question of
  22   originality is one of fact, not of law.” Divine Dharma Meditation Int'l Inc. v.
  23   Inst. of Latent Energy Stud., No. SACV 16-226-JLS (JCGx), 2016 WL
  24   7486286, at *5 (C.D. Cal. May 25, 2016) (citations omitted). Summary
  25   judgment is only appropriate if “no reasonable juror could find substantial
  26   similarity of ideas and expression.” Yonay v. Paramount Pictures Corp., No.
  27   CV 22-3846 PA (GJSx), 2024 WL 2107721, at *5 (C.D. Cal. Apr. 5, 2024).
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   1         The Ninth Circuit further held, while reviewing the two works at issue
   2   here, “reasonable minds could differ on the issue of substantial similarity.”
   3   Gregorini, 2022 WL 522307. That alone instructs the Court to find substantial
   4   similarity sufficient to survive summary judgment. Nonetheless, the Court has
   5   conducted an independent analysis and concludes Gregorini has shown a
   6   genuine dispute as to substantial similarity.
   7         In a motion for summary judgment, the Court applies the “extrinsic test,”
   8   which “compares the objective similarities of specific expressive elements in the
   9   two works.”8 Johannsongs-Publ'g Ltd. v. Lovland, No. CV 18-10009-AB
  10   (SSx), 2020 WL 2315805, at *3 (C.D. Cal. Apr. 3, 2020), aff'd, No. 20-55552,
  11   2021 WL 5564626 (9th Cir. Nov. 29, 2021). The Court “must first distinguish
  12   between protectable and unprotectable elements,” and then decide whether the
  13   protectable elements are substantially similar. Hanagami v. Epic Games, Inc.,
  14   85 F.4th 931, 942 (9th Cir. 2023). For example, “general plot ideas, familiar
  15   stock scenes and themes” and “incidents that flow naturally from a basic plot
  16   premise” are unprotectable. Yonay, 2024 WL 2107721, at *5; Cavalier v.
  17   Random House, Inc., 297 F.3d 815, 822, 823 (9th Cir. 2002).
  18         However, a “particular sequence in which an author strings a significant
  19   number of unprotectable elements can itself be a protectable element.” Metcalf
  20   v. Bochco, 294 F.3d 1069, 1074 (9th Cir. 2002). Here, Gregorini puts forth this
  21   “selection-and-arrangement” theory of substantial similarity. To succeed,
  22   Gregorini must identify “a combination of unprotectable elements” as “eligible
  23   for copyright protection” by showing “those elements are numerous enough and
  24   their selection and arrangement original enough that their combination
  25   constitutes an original work of authorship.” Satava v. Lowry, 323 F.3d 805, 811
  26
  27   8
         The “intrinsic test,” or a comparison from the “standpoint of the ordinary
  28   reasonable observer” is reserved for the jury. Skidmore, 952 F.3d at 1064;
       Rentmeester v. Nike, Inc., 883 F.3d 1111, 1118 (9th Cir. 2018).
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   1   (9th Cir. 2003). Original necessitates “at least some minimal degree of
   2   creativity,” more than “trivial elements of compilation and arrangement.” Ets–
   3   Hokin, 225 F.3d at 1076; Gray v. Hudson, 28 F.4th 87, 101 (9th Cir. 2022).
   4         A “selection-and-arrangement theory of copyright infringement [] does
   5   not entail filtering out unprotected elements.” WMTI Prods., Inc. v. Healey, No.
   6   CV 20-02726-CJC (MAAx), 2023 WL 5506712, at *6. The selection-and-
   7   arrangement itself becomes a protected element. See Moonbug Ent. Ltd. v.
   8   BabyBus (Fujian) Network Tech. Co., No. 21-CV-06536-EMC, 2023 WL
   9   11922845 (N.D. Cal. Mar. 7, 2023) (finding selection and arrangement
  10   “‘original enough’ to be protectable”). For instance, “where wavy hair alone
  11   may not be protectable, wavy hair combined with a polka dotted dress, stilettos,
  12   and a smiling child smelling a flower may form a protectable expression.”
  13   Schmidt v. Baldy, No. CV 16-9368-DSF (AGRx), 2019 WL 5389868, at *6
  14   (C.D. Cal. Oct. 19, 2019). Thus, the “presence of so many generic similarities
  15   and the common patterns in which they arise do help [Plaintiffs] satisfy the
  16   extrinsic test.” Metcalf, 294 F.3d at 1074.
  17         Here, both Servant and Emanuel contain a string of elements that form a
  18   unique and substantially similar story. In both works, a mother loses her only
  19   baby. [Dkt. 180, Ex. 29, Servant Episode 1 “Servant Ep. 1”; Ex. 79, Emanuel
  20   “Emanuel film”]. At first, the viewer does not know how or why the baby died.
  21   [Id.]. To cope with her grief, the mother cares for a hyper-realistic doll that she
  22   believes is her alive child. [Id.]. The mother hires an 18-year-old nanny to take
  23   care of the doll in support of the mother’s delusion. [Id.]. The nanny soon
  24   participates in the delusion with the mother, taking care of the doll as if it were a
  25   baby, both when the mother is there and when the nanny is alone. [Id.]. The
  26   shared delusion between mother and nanny creates a strong bond between the
  27   two. [Id.; Dkt. 180, Ex. 30, Servant Episode 2; Ex. 31, Servant Episode 3]. The
  28   relationship between the mother and nanny is maternal but overtly sexual. [Id.].

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   1   Finally, both works depict the doll becoming a real baby.9 [Servant Ep. 1;
   2   Emanuel film]. This is far from “random similarities scattered throughout the
   3   works.” Litchfield v. Spielberg, 736 F.2d 1352, 1356 (9th Cir. 1984).
   4         Further, Gregorini’s expert fleshes out this pattern of similarities. See
   5   Johannsongs-Publ'g Ltd, 2020 WL 2315805, at *3 (“The extrinsic test … often
   6   requires expert analysis.”). First, the “the mother/nanny/doll triad,” present in
   7   both works, “complicates the traditional mother/daughter relationship” and is
   8   “unusual for the standard fare of Hollywood.” [Dkt. 240-18, Expert Report of
   9   David Román (“Román Report”), at 35]. Both mother and nanny fall into a
  10   “dual maternal role,” whereby both mother and nanny take care of each other as
  11   well as the doll. [Id. at 27]. The “focus on women” and “exploration of female
  12   sexuality,” embodied in the complicated relationship between mother and
  13   nanny, is atypical, particularly in the supernatural/suspense genre. [Id. at 12-13,
  14   23]. The viewer also wonders why the nanny is complicit in the mother’s
  15   delusion, made more compelling by the nannies’ “obsessions with the mother
  16   and doll.” [Id. at 21, 26]. When considering Gregorini’s expert report in the
  17   light most favorable to Gregorini, as the Court must on summary judgment, the
  18   parallel arrangements of both stories are numerous and original.
  19         Defendants however, argue “a grieving mother who believes a reborn doll
  20   is her dead child and hires a nanny for the doll is an unprotectable idea” because
  21   using dolls for grief therapy is a real phenomenon and many works depict
  22   parents treating a doll like a child, such as Pinocchio. [Motion at 23; Dkt. 272-
  23   15, Expert Report of Bob Gale (“Gale Report”), at 11-12]. But even accepting
  24   this argument as true, Emanuel’s expression of this story is much more than
  25   that. The combination of shared elements is “numerous” and “original enough”
  26
  27   9
        Parties dispute whether the doll in Emanuel turns into a real baby or represents
  28   Emanuel’s “vision.” [SGD ¶ 29]. However, Emanuel does depict the doll
       coming to life, whether a “vision” or otherwise. [Emanuel film].
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   1   to form a “common ‘pattern that is sufficiently concrete [to] warrant a finding of
   2   substantial similarity.’” Satava, 323 F.3d at 811; Metcalf, 249 F.3d at 1074
   3   (citing Shaw v. Lindheim, 919 F.2d 1353, 1356 (9th Cir. 1990)).
   4         While Defendants’ expert report details the many differences between the
   5   two works, it is axiomatic that “no plagiarist can excuse the wrong by showing
   6   how much of his work he did not pirate.” Newton v. Diamond, 388 F.3d 1189,
   7   1195 (9th Cir. 2004). Additionally, “the Court cannot weigh or disregard the
   8   parties’ expert reports (for which neither party has filed evidentiary
   9   objections).” 10 Woodall v. Walt Disney Co., No. CV 20-3772- CBM-(EX), Dkt.
  10   558 (C.D. Cal. Nov. 1, 2024). Insofar as this case “boils down to a battle of the
  11   experts, [] such a battle must be left for the jury’s resolution.” Lewert v. Boiron,
  12   Inc., 212 F. Supp. 3d 917, 937 (C.D. Cal. 2016), aff'd, 742 F. App'x 282 (9th
  13   Cir. 2018).
  14         Defendants also argue the extent of any similarities ends after Servant’s
  15   first episode when the doll inexplicably becomes a real baby. [Motion at 24].
  16   But “[e]ven if a copied portion be relatively small in proportion to the entire
  17   work, if qualitatively important, the finder of fact may properly find substantial
  18   similarity.” Shaw, 919 F.2d at 1363. Here, the reborn doll is particularly
  19   important. Not only does it fuel the plot’s development in Servant Episodes 2
  20   and 3, as the husband attempts to uncover the mystery of the doll-turned-live-
  21   baby, but Defendants themselves celebrate the reborn doll idea as “definitely the
  22   big idea and should be the focus of the show.” [SGD ¶ 319].
  23         Although undeniable “differences exist between the works,” there is “too
  24   much in common for a court to conclude that ‘no reasonable juror could find
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  26
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       10
  28    Parties have not filed evidentiary objections for the present Motion, but only
       Motions to Exclude expert reports for trial.
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   1   substantial similarity.’” Wilson v. Walt Disney Co., No. 14-CV-01441-VC,
   2   2014 WL 4477391, at *1 (N.D. Cal. July 30, 2014).
   3         D.     Independent Creation
   4         Defendants next assert Servant was not an infringement, but an
   5   independent creation. [Motion at 27]. Independent creation is a “complete
   6   defense” to copyright infringement. Jones v. Twentieth Century Studios, Inc.,
   7   No. 2:21-CV-05890-FWS-SK, 2023 WL 9051282, at *8 (C.D. Cal. Nov. 28,
   8   2023). “By establishing reasonable access and substantial similarity,” Gregorini
   9   creates a “presumption of copying” that Defendants may rebut by proof of
  10   independent creation. Gray v. Perry, No. 2:15-cv-05642-CAS (JCx), 2020 WL
  11   1275221, at *14 (C.D. Cal. Mar. 16, 2020). Thus, Defendants “bear the burden
  12   of proof at trial.” Fun With Phonics, LLC v. Leapfrog Enterprises, Inc., No. CV
  13   09-916-GHK (VBXx), 2010 WL 11404474, at *9 (C.D. Cal. Sept. 10, 2010).
  14         Generally, courts “do not award summary judgment based solely on the
  15   grounds of independent creation,” but when “evidence of access and substantial
  16   similarity are lacking.” Kaseberg v. Conaco, LLC, 260 F. Supp. 3d 1229, 1248
  17   (S.D. Cal. 2017) (emphasis in original). If Defendants’ independent creation
  18   defense relies on a factual dispute or credibility determinations, the Court
  19   cannot grant summary judgment. Kaseberg, 260 F. Supp. 3d at 1248 (S.D. Cal.
  20   2017) (“To the extent that [a] defendant denies ... copying and maintains
  21   independent creation, a factual issue arises, which it is for trial to resolve.”);
  22   Fun With Phonics, LLC, 2010 WL 11404474, at *9 (holding Defendant’s
  23   independent creation defense insufficient to grant summary judgment because
  24   “[w]e are not in a position to make credibility determinations at the summary
  25   judgment stage”).
  26         Defendants argue Basgallop independently created Servant years before
  27   Emanuel’s release in 2013. [Motion at 27]. Gregorini, however, contends pre-
  28   Emanuel versions of Servant, developed over “15 years with substantial lapses,”

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   1   do not include the critical story arc of a mother and nanny carrying for a doll as
   2   a baby. [Opp. at 26].
   3         In reviewing Basgallop’s notes and early scripts on what was to become
   4   Servant, all of which were written prior to the release of Emanuel, the Court
   5   does note a number of independently created similarities. For instance,
   6   Basgallop envisions an “18-year-old live-in nanny” [SUF ¶ 93], a “well
   7   presented and precise” mother [Dkt. 180-2, Declaration of Tony Basgallop
   8   “Basgallop Decl.”, ¶ 11], a “successful urban” couple [Id.], a “motherly”
   9   relationship between mother and nanny [SUF ¶ 112], supernatural features
  10   [Basgallop Decl. ¶ 13], and dappling with surrealism [SUF ¶ 99].
  11         However, these notes and scripts do not feature a doll as a baby, the
  12   mother’s delusions the doll is alive, or the nanny’s complicity in the delusion.
  13   This is undisputed. [SUF ¶¶ 309, 310]. All of Basgallop’s initial versions of
  14   Servant distinctly presented a live baby. [See generally Basgallop Decl.; see
  15   e.g. id. ¶¶ 19, 20 (discussing an early plot point of the mother breast-feeding
  16   while returning to work)]. Thus, from 2005 to 2012, Servant only included a
  17   live baby. [SUF ¶¶ 309, 310]. It was three years after Emanuel’s premiere that
  18   the doll concept was allegedly first implemented in 2016. [SUF ¶ 157].
  19         While some shared elements appear to be independently created, the
  20   shared elements that only appear after Emanuel – i.e., a mother and nanny
  21   caring for a life-like doll instead of a live baby – are an important ones.
  22   Defendants’ notes on Servant’s script call “the reborn doll idea … compelling,
  23   fresh, and edgy,” and “definitely the big idea and should be the focus of the
  24   show.”11 [Dkt. 276-37, Deposition of Ashwin Rajan (“Rajan Depo.”), at 15-16].
  25
  26
       11
          While Rajan testifies him, Shyamalan, Blumenthal, Escape Artists, Blinding
  27   Edge, Apple had meetings to “give collective thoughts” to Basgallop and wrote
  28   notes on the script, Rajan does not recall who provided this note. [Rajan Decl.
       at 15].
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   1   Defendant Rajan also received notes that stated, “[t]he reborn idea feels too big,
   2   fresh, and edgy not to use.” [SGD ¶ 319].
   3         To support Defendants’ independent creation defense, they provide
   4   Basgallop’s testimony claiming he thought of the doll idea after watching an
   5   episode of The Leftovers in which a mother has life-sized dolls of her lost
   6   children laid out on a table and discussing “reborn dolls” in the writers’ room of
   7   The Resurrection in 2014. [Dkt. 276-4, Deposition of Tony Basgallop
   8   “Basgallop Depo.,” at 26-27]. Gregorini, however, challenges Basgallop’s
   9   account, arguing he has inconsistent stories around the origin of dolls in
  10   Servant, and his inability to fully recall or corroborate the writers’ room
  11   conversation upsets his credibility. [Dkt. 193-4, Deposition of Jason
  12   Blumenthal, at 5 (testifying Basgallop credited a London tabloid as the origin of
  13   the doll idea); Basgallop Depo. at 29 (“I couldn’t tell you what we said” in the
  14   writers’ room; SGD ¶ 148 (noting the lack of “corroborating testimony from
  15   other participants”)].
  16         Taken together, the Court cannot hold Servant to be independently
  17   created as a matter of law. The Court has found reasonable evidence of access
  18   and substantial similarity, Basgallop’s credibility is central to the dispute, and
  19   the evidence must be viewed in a light favorable to Gregorini. Thus,
  20   Defendants affirmative defense fails at this stage, and the Motion is DENIED
  21   on Gregorini’s first claim of copyright infringement.
  22         E.     Servant Scripts
  23         Gregorini has narrowed her case for presentation at trial to exclude her
  24   original claims alleging infringement of the Servant scripts. [Dkt. 317]. Thus,
  25   the Court holds this portion of the Motion MOOT.
  26         F.     Secondary Liability
  27         Federal copyright law permits liability based on contributory and
  28   vicarious liability theories. Metro-Goldwyn-Mayer Studios Inc. v. Grokster,

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   1   Ltd., 545 U.S. 913, 930 (2005). A defendant “infringes contributorily by
   2   intentionally inducing or encouraging direct infringement and infringes
   3   vicariously by profiting from direct infringement while declining to exercise a
   4   right to stop or limit it.” Id. (citations omitted).
   5          As a threshold matter, there must be a direct infringement to permit
   6   secondary liability. A&M Records v. Napster, 239 F.3d 1004, 1013 n.2 (9th Cir.
   7   2001). In this case, as discussed at length above, determination of direct
   8   infringement rests on a genuine dispute of material fact. When viewing the
   9   evidence in the light most favorable to Gregorini, the Court finds this initial
  10   matter satisfied.
  11          Defendants correctly point out Gregorini has failed to identify which of
  12   the Defendants she charges with direct versus secondary liability. [Motion at
  13   29]. Gregorini asserts Defendants collaborative work on Servant and the
  14   credibility determinations necessary to parse infringement require her pursuit of
  15   alternative legal theories at trial. [Opp. 28]. While the Court notes “a defendant
  16   cannot be secondarily liable for that defendant’s own direct infringement,”
  17   Gregorini is permitted to pursue alternative theories of liability at trial. Smith v.
  18   Weeknd, No. CV 19-2507 PA (MRWx), 2019 WL 6998666, at *3 (C.D. Cal.
  19   Aug. 23, 2019).
  20                 1.     Contributory Liability
  21          Contributory copyright infringement requires (1) “knowledge of another’s
  22   infringement” and (2) either material contribution to the infringement or
  23   inducement of the infringement. Perfect 10, Inc. v. Giganews, Inc., 847 F.3d
  24   657, 670 (9th Cir. 2017). Here, Defendants assert Gregorini has not
  25   demonstrated Defendants’ knowledge of any alleged infringement or material
  26   contribution to that infringement. [Motion at 29]. Gregorini does not dispute
  27   this claim, but instead points to the collaborative nature of developing Servant.
  28   [Opp. at 28; see SGD ¶ 333-44].

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   1         Because Gregorini’s direct infringement claim rests on genuine issues of
   2   material fact, it follows that Defendants’ alleged knowledge of the direct
   3   infringement also rests on genuine issues of material fact. Put in other words,
   4   the Court cannot determine Defendants’ knowledge of facts that are in dispute.
   5   Likewise, while Defendants worked collaboratively on Servant, the Court
   6   cannot determine which Defendants materially contributed to the genuinely
   7   disputed infringement.
   8         Additionally, Gregorini offers “more than the mere existence of a scintilla
   9   of evidence” to support her contributory liability claims. Oracle, 627 F.3d at
  10   387. First, she points to the collaborative development of Servant, which when
  11   viewed in the light most favorable to Gregorini, supports a reasonable inference
  12   that Defendants had knowledge and materially contributed to the alleged
  13   infringement. Second, Apple funded the production of Servant, and when
  14   subject to reasonable inferences in Gregorini’s favor, could have induced the
  15   alleged infringement.
  16                2.      Vicarious Liability
  17         To prove vicarious liability, Gregorini must show Defendants had “(1) the
  18   right and ability to supervise the infringing conduct and (2) a direct financial
  19   interest in the infringing conduct.” Perfect 10, Inc. v. Gigantes, Inc., 847 F.3d
  20   657, 673 (9th Cir. 2017).
  21         Defendants do not challenge the financial interest prong, likely because
  22   Defendants made a lot of money from Servant. [See Dkt. 278-21, Expert Report
  23   of Dominic M. Persechini, at 10 (sealed report detailing total profits to each
  24   Defendant)].12 Defendants only point to Gregorini’s alleged lack of evidence
  25   regarding the supervision prong. [Motion at 29].
  26
  27   12
         Gregorini concedes and her expert report details Steve Tisch did not receive a
  28   direct financial interest in Servant, [Opp. at 28]. Thus, as a matter of law, Tisch
       cannot be held liable under a vicarious liability theory, and the Motion is
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   1         Supervision, here, is “the ‘control’ element” of vicarious liability. Perfect
   2   10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1173 (9th Cir. 2007). A defendant
   3   “exercises control over a direct infringer when he has both the legal right to stop
   4   or limit the directly infringing conduct, as well as the practical ability to do so.”
   5   Id. The Court will assess each Defendants’ control over Servant.
   6         First, Basgallop was the writer and an executive producer. [SGD ¶ 344].
   7   It is undisputed the executive producer agreement for Servant conferred him
   8   supervision over the project. [Id.; Dkt. 278-19, “Executive Producer
   9   Agreement”]. Dolphin Black Productions is a “loan-out company” formed by
  10   Basgallop such that, according to Basgallop, “Dolphin Black Productions and
  11   Tony Basgallop are one and the same.” [SGD ¶ 342; Basgallop Depo. at 4
  12   (Dolphin Black Productions is “just me”)].
  13         In 2016, Basgallop met with Blumenthal to discuss an early script of
  14   Servant, and Escape Artists began looking for directors for the project. [SUF ¶
  15   159, 162]. In 2017, Blumenthal sent Rajan the Servant script; Rajan then passed
  16   it on to Shyamalan. [Id. ¶ 163]. Shyamalan’s production company, Blinding
  17   Edge, then became attached to Servant, and Shyamalan directed the first episode
  18   of Servant. [Id. ¶ 169; SGD ¶ 339]. Uncle George Productions is a production
  19   entity Blinding Edge formed to run Servant. [Rajan Depo. at 4-5]. In 2018,
  20   Apple made a “straight-to-series order” for Servant. [SUF ¶ 173]. It is
  21   undisputed Basgallop, Shyamalan, Rajan, Blumenthal, and Apple “worked
  22   collaboratively and had input into directors, casting, scripts, and the creative
  23   development of Servant.” [SGD ¶ 345].
  24         Parties particularly dispute Black’s involvement in the series with
  25   Defendants alleging Black “was minimally involved in early Servant attachment
  26   efforts.” [Id. ¶ 198]. Gregorini in turn points to Black’s executive producer
  27
  28
       GRANTED with respect to Tisch’s vicarious copyright infringement.
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   1   credit and profit from the series. [Id.]. Additionally, the Executive Producer
   2   Agreement directed Uncle George Productions to “meaningfully consult” with
   3   Blumenthal and Black. [Id. ¶ 341].
   4         Viewing the evidence in a light most favorable to Gregorini, Defendants
   5   maintained the right and ability to supervise Servant such that they could be
   6   held vicariously liable for infringement.
   7         G.     Indirect Profits
   8         Federal copyright law enables broad recovery for “any profits of the
   9   infringer that are attributable to the infringement.” 17 U.S.C. § 504(b). Courts
  10   permit plaintiffs to retrieve “indirect profits” upon establishing a “causal link”
  11   between the infringing and subsequent works. Mackie v. Rieser, 296 F.3d 909,
  12   914 (9th Cir. 2002). If the works are “only remotely or speculatively
  13   attributable to the infringement,” the Court may deny recovery of Defendants’
  14   profits. Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc., 772 F.2d 505, 517
  15   (9th Cir. 1985). Ultimately, Gregorini must show “some evidence to create a
  16   triable issue regarding whether the infringement at least partially caused the
  17   profits that the infringer generated as the result of the infringement.” Mackie,
  18   296 F.3d at 911.
  19         In Frank Music Corp., the seminal case on indirect profits, the Ninth
  20   Circuit permitted plaintiff to recover profits from the entirety of a ten-act show
  21   at the MGM Grand Hotel, even though only one act of the show was the source
  22   of the infringement. 772 F.2d at 517. In addition, the court permitted plaintiff
  23   recovery of “indirect profits from the hotel and gaming operations” of MGM
  24   Grand because the show provided “promotional value.” Id.
  25         Here, Gregorini is seeking profits from the entire Servant series while
  26   alleging only the first three episodes infringe on Emanuel. [First Amended
  27   Complaint; Opp. at 28-30]. Gregorini’s expert supplies the initial three episodes
  28   were critical in the development of the series and the revenues it enjoyed.

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   1   [Pittleman Report ¶ 80]. Defendants point out Pittleman did not watch Seasons
   2   2-4 of Servant, however Pittleman did read a synopsis of each episode of
   3   Seasons 2-4. [SGD ¶ 284]. Additionally, another of Gregorini’s experts
   4   testified to the causal nexus between profits from the first three episodes and
   5   profits of future episodes and seasons. [SGD ¶ 278]. Servant was one of Apple
   6   TV+’s flagship television shows, used to promote Apple TV+ and associate its
   7   brand with “the finest creative storytellers.” [Pittleman Report ¶¶ 82-85].
   8          Therefore, Defendants profits are not simply “remotely or speculatively
   9   attributable to the infringement.” Mackie v. Rieser, 296 F.3d 909, 914 (9th Cir.
  10   2002). It is reasonable to conclude the infringement at least partially resulted in
  11   “boosted [] profitability” to the Servant series. Cf. Hendricks v. DreamWorks,
  12   LLC, No. CV-05-8271 CAS (Ex), 2007 WL 9705916, at *3 (C.D. Cal. Nov. 20,
  13   2007) (foreclosing recovery of indirect profits because the infringing work did
  14   not have “any promotional value that could have boosted the profitability” of
  15   later works). Thus, Defendants’ Motion is DENIED with respect to indirect
  16   profits.
  17   IV.    CONCLUSION
  18          For the above reasons, the Motion is GRANTED only as to Defendant
  19   Steve Tisch’s vicarious liability and DENIED with respect to the rest of the
  20   Motion.
  21
  22          IT IS SO ORDERED.
  23
  24
  25   Dated: November 25, 2024
                                               SUNSHINE S. SYKES
  26                                           United States District Judge
  27
  28

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